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    Clear prices, happy shoppers: DSLs enhance the customer experience




    Walmart stores have over 120,000 products on shelves, each with an individual price tag. Every week our stores support thousands of pricing updates
    for new items, Rollbacks and markdowns.


    Digital shelf labels, developed by Vusion Group, allow us to update prices at the shelf using a mobile app, reducing the need to walk around the store
    to change paper tags by hand and giving us more time to support customers in the store.




https://corporate.walmart.com/news/2024/06/06/new-tech-better-outcomes-digital-shelf-labels-are-a-win-for-customers-and-associates                                      2/4
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    Day in my life: DSLs empower associates




                    01:59




    Working with DSLs has transformed my daily routine. This new tech enhances the way we stock shelves and fulfill orders. Here are a few key benefits I
    experience every day:

            Increased productivity and reduced walking time: DSLs allow us to update prices with a few clicks. A price change that used to take an associate
            two days to update now takes only minutes with the new DSL system. This efficiency means we can spend more time assisting customers and less
            time on repetitive tasks.
            Simplified stock replenishment: With the “Stock to Light” feature, an associate can flash an LED light on the shelf tag using their mobile device,
            signaling locations that require attention. This feature makes it easier for associates to identify shelf location when stocking shelves.
            Faster order picking and fulfillment: The “Pick to Light” feature guides us directly to the products needed for online orders, speeding up the
            picking process and improving order accuracy.




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